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                                                             APPENDIX A

 I.    Document Description: Excerpts From the Opening Expert Report of Prof. Robin S. Lee on behalf of Plaintiffs, dated
       December 22, 2023

This report or excerpts thereof containing Equativ Materials appears in the following documents:

      Exhibit 1 to Google’s Memorandum in Support of its Motion for Summary Judgement (Dkt. Nos. 570 (redacted brief), 571

       (sealed brief)), the Declaration of Bryon Becker in Support of Google’s Motion for Summary Judgment and Motions to

       Exclude (Dkt. Nos. 581 (declaration), 581-1 (sealed exhibit)), Google’s Memorandum in Support of its Motion to Exclude the

       Testimony of Prof. Robin S. Lee (Dkt. Nos. 573 (redacted brief), 574 (sealed brief)), Google’s Memorandum in Support of its

       Motion to Exclude the Testimony of Adoria Lim (Dkt. Nos. 576 (redacted brief), 577 (sealed brief)), and Google’s

       Memorandum in Support of Motion to Exclude the Testimony of Prof. Timothy Simcoe (Dkt. Nos. 579 (redacted brief), 580

       (sealed brief))

      Exhibit 8 to Plaintiffs’ Opposition to Google’s Motion for Summary Judgment (Dkt. Nos. 656 (redacted brief) 669 (sealed

       brief)), and the Declaration of Aaron Teitelbaum in Support of the same (Dkt. Nos. 656-1 (declaration), 656-9 (redacted

       exhibit), 670-7(sealed exhibit))

      Exhibit A to Plaintiffs’ Opposition to Google’s Motion to Exclude the Testimony of Prof. Robin S. Lee (Dkt. Nos. 660

       (redacted brief), 660-1 (redacted exhibit), 663 (sealed brief), 663-1 (sealed exhibit))




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     Exhibit D to Plaintiffs’ Opposition to Google’s Motion to Exclude the Testimony of Prof. Timothy Simcoe (Dkt. Nos. 640

      (redacted brief), 640-4 (redacted exhibit), 644 (sealed brief), 644-4 (sealed exhibit))

     Exhibit 127 to Google’s Reply in Support of its Motion to Exclude the Testimony of Prof Timothy Simcoe and the

      Declaration of Bryon Becker in Support of the same (Dkt. Nos. 706 (redacted brief), 708 (declaration), 708-1 (sealed exhibit),

      707 (sealed brief), 709-1 (sealed exhibit))

Citation(s)                           Basis for Sealing and/or Redaction

Footnote 552                          Information reveals detailed metrics on open-web display impressions transacted by Equativ
                                      and the geographic distribution of publishers and users based on Equativ’s internal, non-
                                      public and highly commercially sensitive data.

                                      Equativ requests that this material remains sealed.

P. 266 (not including                 Testimony from Deposition of Equativ CEO Arnaud Creput revealing Equativ’s internal
corresponding footnote)               assessments of the market conditions, which impacts Equativ’s competitive position.

                                      Equative requests to redact as follows: “When asked why Equativ’s publisher ad server lost
                                      [REDACTED] to Google’s DFP, . . . . ad spend.”

183, footnote 634, Figure 45          Detailed figures, charts, and graphs revealing Equativ’s market share and other metrics
199, Figure 47                        related to open-web display (including impressions, spend, and display takes) based on
200, Figure 48                        Equativ’s internal, non-public and highly commercially sensitive data.
Figure 84
Figure 85                             Equativ requests that this material remains sealed.
Figure 86
D-3, Figure 90
D-4, Figure 91
D-8, Figure 95
D-9, Figure 96
                                                                   2
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Citation(s)                      Basis for Sealing and/or Redaction

D-18, Figure 107
Figure 108
E-2, Figure 110
G-1, Figure 122
G-3, Figure 124
G-9, Figure 130
G-10, Figure 131
203, Figure 49                   Detailed figures, charts, and graphs revealing Equativ’s net revenues on the sale of indirect
D-5, Figure 92                   open-web display impressions based on Equativ’s internal, non-public and highly
G-4, Figure 125                  commercially sensitive data.

                                 Equativ requests that this material remains sealed.

204, Figure 50                   Detailed figures, charts, and graphs revealing Equativ’s ad exchange fees from indirect open-
205, Figure 51                   web display transactions based on Equativ’s internal, non-public and highly commercially
D-6, Figure 93                   sensitive data.
D-7, Figure 94
G-2, Figure 123                  Equativ requests that this material remains sealed.

Paragraph 489 and footnote 700   Information reveals expert analysis of Equativ’s market shares based on Equativ’s internal,
                                 non-public and highly commercially sensitive data.

                                 Equativ requests to redact paragraph 489 as follows: “I find that impression and net revenue
                                 shares among this subset of exchanges [REDACTED] involving ng US publishers or US
                                 users.”

                                 Equativ requests to redact footnote 700 as follows: “For example, I find that there is
                                 [REDACTED] share difference for AdX among this subset of exchanges, for both
                                 impressions and net revenues and across all years 2020 – 2022, between US market shares
                                 computed based on user versus publisher location. See Figure 86 and Figure 87 in Appendix



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Citation(s)                      Basis for Sealing and/or Redaction

                                 C.4. ([REDACTED)] data does not contain net revenue information and is excluded from
                                 the calculation of net revenue shares).”



Footnote 567                     Information reveals expert analysis of Equativ’s market shares based on Equativ’s internal,
                                 non-public and highly commercially sensitive data.

                                 Equativ requests that this material remains sealed.

Footnote 635                     Equativ confidential document revealing Equativ’s internal assessments of market
                                 conditions, which impacts Equativ’s competitive position.

                                 Equativ requests that this material remains sealed.




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 II.   Document Description: Excerpts From the Rebuttal Expert Report of Prof. Robin S. Lee on behalf of Plaintiffs, dated
       February 13, 2024

This report or excerpts thereof containing Equativ Materials appears in the following document:

      Exhibit 3 to Google’s Memorandum in Support of its Motion for Summary Judgement (Dkt. Nos. 570 (redacted brief), 571

       (sealed brief)), the Declaration of Bryon Becker in Support of Google’s Motion for Summary Judgment and Motions to

       Exclude (Dkt. Nos. 581 (declaration), 581-3 (sealed exhibit)), and Google’s Memorandum in Support of its Motion to Exclude

       the Testimony of Prof. Robin S. Lee (Dkt. Nos. 573 (redacted brief), 574 (sealed brief))

 Citation(s)                           Basis for Sealing

 B-26, Figure 88                       Detailed figure revealing Equativ’s worldwide spending and impressions based on Equativ’s
                                       internal, non-public and highly commercially sensitive data.

                                       Equativ requests that this material remains sealed.


III.   Document Description: Excerpts from the Supplemental Expert Report of Robin S. Lee on behalf of Plaintiffs, dated
       March 4, 2024

This report or excerpts thereof containing Equativ Materials appears in the following document:

      Exhibit G to Plaintiffs’ Opposition to Google’s Motion to Exclude the Testimony of Prof. Robin S. Lee (Dkt. Nos. 660

       (redacted brief), 660-7 (redacted exhibit), 663 (sealed brief), 663-7 (sealed exhibit))




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 Citation(s)                          Basis for Sealing

 Appendix B, Page B-1, Figure 6       Detailed figure revealing Equativ’s worldwide impressions based on Equativ’s internal, non-
 88                                   public and highly commercially sensitive data.

                                      Equativ requests that this material remains sealed.


IV.    Document Description: Excerpts From the Expert Report of Gabriel Weintraub on behalf of Plaintiffs, dated
       December 22, 2023

This report or excerpts thereof containing Equativ Materials appears in the following document:

      Exhibit 4 to Google’s Memorandum in Support of its Motion for Summary Judgement (Dkt. Nos. 570 (redacted brief), 571

       (sealed brief)), and the Declaration of Bryon Becker in Support of Google’s Motion for Summary Judgment and Motions to

       Exclude (Dkt. Nos. 581 (declaration), 581-4 (sealed exhibit))

 Citation(s)                          Basis for Sealing

 110 and footnote 381                 Testimony from Deposition of Equativ CEO Arnaud Creput revealing details of Equativ’s
                                      competitive strategy.

                                      Equativ requests that this material remains sealed.


 V.    Document Description: Excerpts From the Expert Report of Prof. Timothy Simcoe on behalf of Plaintiffs, dated
       December 22, 2023

This report or excerpts thereof containing Equativ Materials appears in the following documents:



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      Exhibit 5 to Google’s Memorandum in Support of its Motion for Summary Judgement (Dkt. Nos. 570 (redacted brief), 571

       (sealed brief)), the Declaration of Bryon Becker in Support of Google’s Motion for Summary Judgment and Motions to

       Exclude (Dkt. Nos. 581 (declaration), 581-5 (sealed exhibit)), Google’s Memorandum in Support of its Motion to Exclude the

       Testimony of Adoria Lim (Dkt. Nos. 576 (redacted brief), 577 (sealed brief)), Google’s Memorandum in Support of Motion to

       Exclude the Testimony of Prof. Timothy Simcoe (Dkt. Nos. 579 (redacted brief), 580 (sealed brief))

      Exhibit A to Plaintiffs’ Opposition to Google’s Motion to Exclude the Testimony of Prof. Timothy Simcoe (Dkt. Nos. 640

       (redacted brief), 640-1 (redacted exhibit) 644 (sealed brief), 644-1 (sealed exhibit))

 Citation(s)                           Basis for Sealing

 Figure 5                              Detailed figures revealing Equativ’s worldwide spending and impressions based on
 Figure 7                              Equativ’s internal, non-public and highly commercially sensitive data.

                                       Equativ requests that this material remains sealed.


VI.    Document Description: Excerpts From the Expert Report of Rosa M. Abrantes-Metz on behalf of Plaintiffs, dated
       December 22, 2023

This report or excerpts thereof containing Equativ Materials appears in the following document:

      Exhibit 27 to Plaintiffs’ Opposition to Google’s Motion for Summary Judgment (Dkt. Nos. 656 (redacted brief), 669 (sealed

       brief)), and the Declaration of Aaron Teitelbaum in Support of the same (Dkt. Nos. 656-1 (declaration), 657-5 (redacted

       exhibit), 670-26 (sealed exhibit))


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  Citation(s)                           Basis for Sealing

  Paragraph 436                         Testimony from Deposition of Equativ CEO Arnaud Creput revealing Equativ’s internal
                                        assessments of market conditions, which impacts Equativ’s competitive position.

                                        Equativ requests that this material remains sealed.


VII.    Document Description: Excerpts from the Supplemental Expert Report of Robin S. Lee on behalf of Plaintiffs, dated
        March 4, 2024

 This report or excerpts thereof containing Equativ Materials appears in the following document:

       Exhibit G to Plaintiffs’ Opposition to Google’s Motion to Exclude the Testimony of Prof. Robin S. Lee (Dkt. Nos. 660

        (redacted brief), 660-7 (redacted exhibit), 663 (sealed brief), 663-7 (sealed exhibit))

  Citation(s)                           Basis for Sealing

  Appendix B, Page B-1, Figure 6        Detailed figure revealing Equativ’s ad server impressions based on Equativ’s internal, non-
                                        public and highly commercially sensitive data.

                                        Equativ requests that this material remains sealed.


VIII.   Document Description: Excerpts From the Expert Report of Mark A. Israel on behalf of Google, dated January 23,
        2024

 This report or excerpts thereof containing Equativ Materials appears in the following document:

       Exhibit H to Plaintiffs’ Opposition to Google’s Motion to Exclude the Testimony of Prof. Timothy Simcoe (Dkt. Nos. 640
        (redacted brief), 640-8 (sealed exhibit), 644 (sealed brief), 644-7 (sealed exhibit))


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Citation(s)                     Basis for Sealing

Figure 41                       Detailed figure revealing Equativ’s market share of indirect open web display exchange
                                spending based on Equativ’s internal, non-public and highly commercially sensitive data.

                                Equativ requests that this material remains sealed.




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